                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CRAWL SPACE DOOR SYSTEM, INC., d/b/a                      :
CRAWL SPACE DOOR SYSTEMS, INC.                            :
                                           Plaintiff,     :
                                                          :   CIVIL ACTION
              v.                                          :   Case No. 2:22-cv-04698-GAM
                                                          :
WHITE & WILLIAMS LLP.,                                    :
                                                          :
                                           Defendant.     :

                    DEFENDANT WHITE AND WILLIAMS LLP’S
                   MOTION TO DISMISS PLAINTIFF’S COMPLAINT
        For the reasons set forth in the accompanying Memorandum of Law, defendant White

and Williams LLP respectfully moves to dismiss Plaintiff’s Complaint.

                                           WHITE AND WILLIAMS LLP


                                           By:     /s/ Peter J. Mooney
                                                   Peter J. Mooney, Esquire
                                                   Attorneys for Defendant,
                                                   White and Williams LLP
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Date: December 30, 2022




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